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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
PANAMA CITY DIVISION

SAMANTHA DORINDA LOPEZ

VS CASE NO. 5:97CV39-RH

SAL SEANEZ
JUDGMENT

This action came to trial or hearing before the Court with the Honorable Robert L.
Hinkle presiding. The issues have been tried or heard and a decision has been
rendered.

The amended petition for writ of habeas oe is DENIE

D.
DONE and ORDERED this 13 thy of Cypnil 1999.

ROBERT A. MOSSING, CLERK

Deputy Ls Anita L. hdd

 

 

Entered On Docket: / / 3 <4 Y By: Ly ne ie eo
Rules 58 & 79(a) FRC 32(d)(1) & 55 FRCRP Peres
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